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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER MDL No. 2179
HORIZON” IN THE GULF OF MEXICO, ON APRIL
20, 2010
SECTION: J
IN RE THE COMPLAINT AND PETITION OF
TRITON ASSET LEASING GmbH, ET AL., IN A JUDGE BARBIER
CAUSE OF EXONERATION FROM OR
LIMITATION OF LIABILITY MAGISTRATE SHUSHAN

This Document applies to:
CA. No. 10-2771

TRANSOCEAN’S FIRST AMENDED ANSWER TO
BP PARTIES’ COUNTER-COMPLAINT,
CROSS-COMPLAINT, THIRD PARTY COMPLAINT,
AND CLAIM IN LIMITATION

Defendants Transocean Offshore Deepwater Drilling, Inc. (“TODDI”), Transocean
Deepwater Inc. (“TDI”), Transocean Holdings LLC (“TH”) and Triton Asset Leasing GmbH
(“Triton”) (collectively “Transocean” or “Transocean Defendants”)’ respond to the Counter-
Complaint, Cross-Complaint and Third Party Complaint against Transocean, and Claim in
Limitation of BP Exploration & Production, Inc. (“BPXP”) and BP America Production
Company (“BPAP”) (collectively “the BP Parties” or “BP”), Dkt. 2074, and, upon information
and belief, respectfully show as follows:

ANSWER

For each and every allegation of the Counter-Complaint, Cross-Complaint, Third Party

Complaint, and Claim in Limitation, Transocean responds as follows. When a paragraph in the

Counter-Complaint, Cross-Complaint, Third Party Complaint, and Claim in Limitation contains

' Transocean Ltd. has filed a motion challenging personal jurisdiction (Docket Number 14/May 17, 2010). In
addition, on May 6, 2011, this Court entered a Special Appearance by Transocean Ltd. and Transocean Inc.,
ordering a standstill of jurisdictional discovery, and allowing counsel to accept service of process without waiver of
jurisdiction. (Docket Number 2274).

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multiple subparts, the response of Transocean to the paragraph applies equally to all subparts
unless otherwise expressly stated.

1. The Transocean Defendants admit that one or more of them are the Managing
Owners, Owners Pro Hac Vice, and/or Operators of the Deepwater Horizon. Transocean admits
that on April 20, 2010, the Macondo well blew out and an explosion and fire occurred on the
Deepwater Horizon, Transocean admits that 11 vessel workers lost their lives. Transocean
admits that on or about April 22, 2010, the Deepwater Horizon sank, and oil flowed into the Gulf
of Mexico. Transocean denies that Transocean is accountable to the BP Parties or to any other
party for having caused the blow-out, explosion, fire, deaths and personal injuries, and
subsequent oil spill. Transocean denies any improper conduct, errors, omissions, and violations
of maritime law related to the Deepwater Horizon. Transocean denies any misconduct on its
part. Transocean denies the BP Parties’ allegations that on April 20, 2010, every single safety
system and device and well control procedure on the Deepwater Horizon failed, resulting in the
casualty. Transocean denies that the BP Parties are entitled to $40 Billion in damages and
contribution from Transocean for the cost, expenses, injuries and damages that the BP Parties
have incurred, continue to incur, and will incur as a result of the Deepwater Horizon incident and
oil spill. Transocean denies that there were multiple failures on its part. To the extent not
expressly admitted, Transocean denies all aspects and implications of the allegations in
Paragraph 1.

2. The Transocean Defendants admit that one or more of them are the Managing
Owners, Owners Pro Hac Vice, and/or Operators of the Deepwater Horizon. The Transocean
Defendants deny that any one of them is directly liable for any improper conduct, errors,
omissions, and violations of maritime law relating to the Deepwater Horizon. Transocean denies

any improper conduct, errors, omissions, and violations of maritime law relating to the

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Deepwater Horizon. Transocean denies the BP Parties’ characterization of Transocean Ltd. and
Transocean Inc. as Transocean’s top level corporate entities. Transocean denies that Transocean
Ltd. and Transocean Inc. dominate, control, or are otherwise the alter egos of the Transocean
Deepwater Horizon Companies. Transocean denies that Transocean Ltd. and Transocean Inc.
are directly responsible for the policies and practices that led to the MC-252 well blowout. To
the extent not expressly admitted, Transocean denies all aspects and implications of the
allegations in Paragraph 2.

3. Transocean admits that BPAP and TH are parties to a Drilling Contract with a
binding arbitration provision. Transocean denies that it has waived any rights to arbitrate any
aspects of any claims between any BP entities and Transocean relating to the Deepwater Horizon
incident and resulting oil spill. To the extent not expressly admitted, Transocean denies all
aspects and implications of the allegations in Paragraph 3.

4, Transocean denies all aspects and implications of the allegations in Paragraph 4.

5. Transocean is without sufficient knowledge or information to form a belief as to
whether the allegations set forth in Paragraph 5 are true and, therefore, denies all aspects and
implications of the allegations in Paragraph 5.

6. Transocean is without sufficient knowledge or information to form a belief as to
whether the allegations set forth in Paragraph 6 are true and, therefore, denies all aspects and
implications of the allegations in Paragraph 6.

7. Transocean admits that TODDI is a Delaware corporation with its principal place
of business in Houston, Texas. To the extent not expressly admitted, Transocean denies all

aspects and implications of the allegations in Paragraph 7.

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8. Transocean admits that TDI is a Delaware corporation with its principal place of
business in Houston, Texas. To the extent not expressly admitted, Transocean denies all aspects
and implications of the allegations in Paragraph 8.

9. Transocean admits that TH is a Delaware limited liability company with its
principal place of business in Houston, Texas. To the extent not expressly admitted, Transocean
denies all aspects and implications of the allegations in Paragraph 9.

10. Transocean admits that Triton is a Swiss limited liability company with its
principal place of business in Zug, Switzerland. To the extent not expressly admitted,
Transocean denies all aspects and implications of the allegations in Paragraph 10.

11. Transocean admits that Transocean Inc. is a Cayman Islands corporation.
Transocean denies that Transocean Inc. has its principal place of business at 4 Greenway Plaza,
Houston, Texas 77046. Transocean denies that Transocean Inc. is the direct or indirect parent of
the Transocean Deepwater Horizon Companies. To the extent not expressly admitted,
Transocean denies all aspects and implications of the allegations in Paragraph 11.

12. Transocean admits that Transocean Ltd. is a Swiss corporation with its principal
place of business in Zug, Switzerland. Transocean denies that the Court has in personam
jurisdiction over Transocean Ltd. Transocean denies the characterization of Transocean Ltd. as
the ultimate parent and controlling entity of the Transocean Deepwater Horizon Companies. To
the extent not expressly admitted, Transocean denies all aspects and implications of the
allegations in Paragraph 12.

13. Transocean denies that the Court has subject matter jurisdiction over any claims
between the BP Parties and Transocean because these claims are subject to a binding arbitration

clause in the Drilling Contract dated December 9, 1998. Transocean denies that the Court has in

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personam jurisdiction over Transocean Ltd. To the extent not expressly admitted, Transocean
denies all aspects and implications of the allegations in Paragraph 13.

14. Transocean admits that it filed a Rule 14(c) Third-Party Complaint tendering
Third-Party Defendants, including the BP Parties, to the Plaintiffs/Claimants, and that the
Complaint was filed pursuant to Rule 9(h) of the Federal Rules of Civil Procedure and 28 U.S.C.
§ 1333. Transocean also admits that the BP Parties are also named as Defendants in admiralty,
maritime, and other complaints pending before this Court. Transocean specifically denies that
this Court has subject matter jurisdiction over claims between the BP Parties and Transocean
because these claims are subject to a binding arbitration clause in the Drilling Contract dated
December 9, 1998. To the extent not expressly admitted, Transocean denies all aspects and
implications of the allegations in Paragraph 14.

15. Transocean denies all aspects and implications of the allegations in Paragraph 15.

16. Transocean admits that it has filed a Complaint and Petition for Exoneration From
or Limitation of Liability and that Plaintiffs/Claimants have filed claims against Transocean in
the Limitation action and that Transocean has filed a Rule 14(c) Third-Party Complaint and
tendered the BP Parties, among others, to the Plaintiffs/Claimants. To the extent not expressly
admitted, Transocean denies all aspects and implications of the allegations in Paragraph 16.

17. Transocean denies all aspects and implications of the allegations in Paragraph 17
(and subparts).

18. Transocean denies all aspects and implications of the allegations in Paragraph 18.

19. Transocean admits that BPXP obtained a Lease for Mississippi Canyon, Block
252, commonly known as the Macondo prospect. Transocean admits that it was hired to drill the
MC-252, commonly known as the Macondo well, using the Deepwater Horizon mobile offshore

drilling unit ““MODU”). The Transocean Defendants admit that one or more of them are the

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Managing Owners, Owners Pro Hac Vice, and/or Operators of the Deepwater Horizon. To the
extent not expressly admitted, Transocean denies all aspects and implications of the allegations
in Paragraph 19.

20. Transocean admits that Paragraph 20 contains some language that can be found in
the Drilling Contract dated December 9, 1998, but denies that the partially quoted language is
complete or that the BP Parties have properly characterized the Drilling Contract’s language in
the first sentence of Paragraph 20. To the extent not expressly admitted, Transocean denies all
aspects and implications of the allegations in Paragraph 20 (and subparts).

21. Transocean denies all aspects and implications of the allegations in Paragraph 21.

22. The allegations set forth in the first sentence of Paragraph 22 pertaining to
Transocean contain a statement of law, and therefore do not require a response by Transocean.
The remaining allegations set forth in Paragraph 22 are not directed at Transocean and therefore
do not require a response by Transocean. To the extent that the allegations in Paragraph 22 are
directed at Transocean, all aspects and implications of the allegations are denied.

23. Transocean admits that the Deepwater Horizon carried various appurtenances to
drill subsea wells and to protect the vessel during drilling. To the extent not expressly admitted,
Transocean denies all aspects and implications of the allegations in Paragraph 23.

24. Transocean admits that the Deepwater Horizon was equipped with rig protection
equipment. To the extent not expressly admitted, Transocean denies all aspects and implications
of the allegations in Paragraph 24.

25. Transocean denies all aspects and implications of the allegations in Paragraph 25.

26. Transocean denies all aspects and implications of the allegations in Paragraph 26.

27, Transocean denies all aspects and implications of the allegations in Paragraph 27.

28. Transocean denies all aspects and implications of the allegations in Paragraph 28.

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29. Transocean denies all aspects and implications of the allegations in Paragraph 29.

30. Transocean denies all aspects and implications of the allegations in Paragraph 30.

31. | Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 31 which state: “D. Transocean’s Errors And The Deepwater
Horizon’s Unseaworthiness Caused The April 20 Blowout, Explosion And Fire, As Well As The
Tragic Deaths, Personal Injuries, And Resulting Oil Spill.” Transocean denies all aspects and
implications of the allegations in Paragraph 31.

32. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 32 which state: “1. Transocean Failed To Identify And React To
Warming Signs That The Well Was Flowing.” Transocean denies all aspects and implications of
the allegations in Paragraph 32.

33. Transocean denies all aspects and implications of the allegations in Paragraph 33.

34. Transocean denies all aspects and implications of the allegations in Paragraph 34.

35. Transocean denies all aspects and implications of the allegations in Paragraph 35.

36. Transocean denies all aspects and implications of the allegations in Paragraph 36.

37. Transocean denies all aspects and implications of the allegations in Paragraph 37.

38. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 38 which state: “2. Transocean Failed To Properly Monitor The
Well To Detect Whether It Was Flowing.” Transocean denies all aspects and implications of the
allegations in Paragraph 38.

39. Transocean denies all aspects and implications of the allegations in Paragraph 39.

40. Transocean denies all aspects and implications of the allegations which appear

immediately before Paragraph 40 which state: “3. Transocean’s Belated Well Control Actions

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Dispersed Gas Onto The Rig, Causing The Explosions.” Transocean denies all aspects and
implications of the allegations in Paragraph 40.

41. Transocean denies all aspects and implications of the allegations in Paragraph 41.

42. Transocean denies all aspects and implications of the allegations in Paragraph 42.

43. Transocean denies all aspects and implications of the allegations in Paragraph 43.

44, Transocean denies all aspects and implications of the allegations in Paragraph 44.

45. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 45 which state: “4. The Deepwater Horizon’s ESD, Rig Savers,
And Over-Speed Controls Failed.” Transocean denies all aspects and implications of the
allegations in Paragraph 45.

46. Transocean denies all aspects and implications of the allegations in Paragraph 46.

47. Transocean denies all aspects and implications of the allegations in Paragraph 47.

48. Transocean denies all aspects and implications of the allegations in Paragraph 48.

49. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 49 which state: “5. The Rig’s Power Generators Failed To
Operate After The Explosion, Rendering The Vessel And Its Crew Helpless.” Transocean denies
all aspects and implications of the allegations in Paragraph 49.

50. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 50 which state: “6. Transocean’s Divided Command Structure,
Combined With The Failures Of Its Captain, Compounded The Effects Of The Casualty.”
Transocean denies all aspects and implications of the allegations in Paragraph 50.

51. Transocean denies all aspects and implications of the allegations which appear

immediately before Paragraph 51 which state: “7. Transocean And Its Captain Erred In Delaying

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To Activate The Blowout Preventer And EDS.” Transocean denies all aspects and implications
of the allegations in Paragraph 51.

52. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 52 which state: “8. Transocean’s EDS And Blowout Preventer
Malfunctioned, Failing To Shut In The Well.” Transocean denies all aspects and implications of
the allegations in Paragraph 52.

53. Transocean denies all aspects and implications of the allegations in Paragraph 53.

54. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 54 which state: “9. Transocean’s Uncoordinated Fire-Fighting
Attempts Allowed The Rig To Burn For Over 36 Hours And Then Sink Into The Gulf of
Mexico.” Transocean denies all aspects and implications of the allegations in Paragraph 54.

55. Transocean denies all aspects and implications of the allegations in Paragraph 55.

56. Transocean denies all aspects and implications of the allegations in Paragraph 56.

57. Transocean is without sufficient knowledge or information to form a belief as to
whether the allegations set forth in Paragraph 57 are true and, therefore, denies all aspects and
implications of the allegations in Paragraph 57.

58. Transocean denies all aspects and implications of the allegations which appear
immediately before Paragraph 58 which state: “F. Transocean’s Domination And Control Of Its
Corporate Subsidiaries.” Transocean denies all aspects and implications of the allegations in
Paragraph 58.

59. Transocean denies all aspects and implications of the allegations in Paragraph 59.

60. Transocean denies all aspects and implications of the allegations in Paragraph 60.
61. Transocean denies all aspects and implications of the allegations in Paragraph 61
(and subparts).

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62. Transocean denies all aspects and implications of the allegations in Paragraph 62.

63. Transocean denies all aspects and implications of the allegations in Paragraph 63.

64. Paragraph 64 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

65. | Transocean admits that the Drilling Contract is a valid and enforceable contract.

66. | Transocean denies all aspects and implications of the allegations in Paragraph 66.

67. | Transocean admits that Paragraph 67 contains some language that can be found in
the Drilling Contract dated December 9, 1998, but denies that the partially quoted language is
complete or that the BP Parties have properly characterized the Drilling Contract’s language in
the first sentence of Paragraph 67. To the extent not expressly admitted, Transocean denies all
aspects and implications of the allegations in Paragraph 67 (and subparts).

68. Transocean denies all aspects and implications of the allegations in Paragraph 68
(and subparts).

69. Transocean denies all aspects and implications of the allegations in Paragraph 69.

70. Transocean denies all aspects and implications of the allegations in Paragraph 70.

71. Paragraph 71 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

72. Transocean denies all aspects and implications of the allegations in Paragraph 72.

73. Transocean denies all aspects and implications of the allegations in Paragraph 73.
74. Transocean denies all aspects and implications of the allegations in Paragraph 74.
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75. Transocean denies all aspects and implications of the allegations in Paragraph 75.

76. Paragraph 76 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

77. Transocean denies all aspects and implications of the allegations in Paragraph 77
(and subparts).

78. Transocean denies all aspects and implications of the allegations in Paragraph 78.

79. Transocean denies all aspects and implications of the allegations in Paragraph 79.

80. Transocean denies all aspects and implications of the allegations in Paragraph 80.

81. Paragraph 81 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

82. Transocean denies all aspects and implications of the allegations in Paragraph 82.

83. Transocean denies all aspects and implications of the allegations in Paragraph 83.

84. Transocean denies all aspects and implications of the allegations in Paragraph 84.

85. Paragraph 85 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

86. Transocean denies all aspects and implications of the allegations in Paragraph 86.

87. Transocean denies all aspects and implications of the allegations in Paragraph 87.

88. Transocean denies all aspects and implications of the allegations in Paragraph 88.

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89. Transocean denies all aspects and implications of the allegations in Paragraph 89.

90. Paragraph 90 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

91. Transocean denies all aspects and implications of the allegations in Paragraph 91.

92. Transocean admits that BPXP has a statutory duty to pay and continue to pay
damages to resolve valid and properly documented claims brought against the BP Parties
resulting from the Macondo well oil spill. To the extent not expressly admitted, Transocean
denies all aspects and implications of the allegations in Paragraph 92.

93. Transocean denies all aspects and implications of the allegations in Paragraph 93.

94. Transocean denies all aspects and implications of the allegations in Paragraph 94.

95. Paragraph 95 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

96. Paragraph 96 contains a statement of law, which does not require a response by
Transocean.

97. Transocean denies all aspects and implications of the allegations in Paragraph 97.

98. Transocean admits that BPXP has a statutory duty to pay and continue to pay
damages to resolve valid and properly documented claims brought against the BP Parties
resulting from the Macondo well oil spill. To the extent not expressly admitted, Transocean
denies all aspects and implications of the allegations in Paragraph 98.

99. Transocean denies all aspects and implications of the allegations in Paragraph 99.

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100. Transocean denies all aspects and implications of the allegations in Paragraph
100.

101. Paragraph 101 is a statement that the BP Parties reallege and incorporate by
reference each and every allegation set forth in all preceding paragraphs as if fully restated
herein. Transocean has responded to each of the preceding paragraphs and incorporates those
responses as necessary and, accordingly, no further response is required.

102. Transocean denies all aspects and implications of the allegations in Paragraph
102.

103. Transocean is without sufficient knowledge or information to form a belief as to
whether the allegations set forth in Paragraph 103 are true and, therefore, denies all aspects and
implications of the allegations in Paragraph 103.

104. Transocean denies all aspects and implications of the allegations in Paragraph

104.

105. Transocean denies all aspects and implications of the allegations in Paragraph
105.

106. Transocean denies all aspects and implications of the allegations in Paragraph
106.

107. Transocean denies all aspects and implications of the allegations in Paragraph
107.

AFFIRMATIVE DEFENSES
Transocean sets forth its affirmative defenses which apply to all claims unless otherwise
noted. By setting forth these affirmative defenses, Transocean does not assume the burden of

proving any fact, issue, or element of a cause of action where such burden properly belongs to

the BP Parties.

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Lack of Subject Matter Jurisdiction
1. The Court lacks subject matter jurisdiction over the BP Parties’ claims under Rule
12(b)(1) of the Federal Rules of Civil Procedure and 9 U.S.C. § 2, because Article 35.4 of the
Drilling Contract between the Transocean Defendants and the BP Parties states that all such
claims are subject to arbitration.
Standing
2. The BP Parties lack standing because they have not alleged nor can they prove an
actual or threatened injury caused by the Transocean Defendants’ conduct and redressable by
this Court.
Proper Parties/Joinder
3. The BP Parties have failed to join an indispensable party (or parties) under Rule
19, Federal Rules of Civil Procedure.
Ripeness
4, The BP Parties’ claims for relief are not ripe.

Failure to State a Claim

5. The BP Parties have failed to state a claim upon which relief can be granted.

6. The BP Parties have failed to plead, much less satisfy, conditions precedent to
recovery.

7. The BP Parties’ claims are barred to the extent that the BP Parties seek to impose

liability retroactively for conduct that was not actionable at the time it occurred.
Shipowners’ Limitation of Liability Act
8. The Transocean Defendants assert all rights and defenses available under the
Shipowners’ Limitation of Liability Act, 46 U.S.C. § 30501, ef seg. As a separate and complete

defense to some or all of the BP Parties’ claims, the Transocean Defendants aver that the subject

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incident was occasioned without the privity or knowledge of the Transocean Defendants, and
that the amount of damages alleged in the Counter-Complaint, Cross-Complaint and Third Party
Complaint greatly exceeds the amount of value of the interest of the Transocean Defendants in
the mobile offshore drilling unit (“MODU”) Deepwater Horizon and her freight then pending,
and the Transocean Defendants accordingly invoke the benefits of the provisions of the revised
statute of the United States of America and acts amendatory thereof and supplement thereto,
specifically 47 U.S.C. § 30501 et seq., in the limitation of liability of shipowners, under which
provision the BP Parties are not entitled to recover damages in a sum in excess of the value of
the Transocean Defendants’ interest in said vessel and her pending freight at the conclusion of
the voyage during which the subject incident occurred. The pleading of limitation of liability is
not made as an admission of liability, but is made subject to the full denial set forth above in this
pleading of any and all liability.

9. The BP Parties’ Counter-Complaint, Cross-Complaint, Third Party Complaint,
and Claim in Limitation are enjoined, stayed, and restrained until the hearing and termination of
the Limitation of Liability proceedings pursuant to the Limitation Court’s Order dated June 14,
2010, and the Shipowners’ Limitation of Liability Act, 46 U.S.C. § 30501, et seq.

Oil Pollution Act
10... The Transocean Defendants assert all defenses available under the Oil Pollution
Act of 1990 (“OPA”), 33 U.S.C. § 2701 et seq., including, without limitation:
(a) Presentment has not been made as required under OPA;
(b) OPA displaces or preempts the BP Parties’ claims with respect to oil spill
damages and otherwise;
(c) There is no right of action against one or more of the Transocean

Defendants to the extent any of them is not a Responsible Party as defined under OPA;

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(d) OPA eliminates or limits the BP Parties’ alleged rights of recovery for
certain economic loss claims;

(e) OPA does not provide for, or allow, the recovery of punitive or exemplary
damages; and

(f) OPA does not provide for, or allow, a determination of joint and several
liability, but requires an apportionment of fault.

Maritime and State Law Claims
11. The Transocean Defendants assert all defenses to any maritime and state law
claims including, without limitation:

(a) The Transocean Defendants assert preemption to the extent that federal
common law, including maritime law, is displaced by the Outer Continental Shelf Land
Act, 43 U.S.C. § 1331 et seq., or the Oil Pollution Act, 33 U.S.C. § 2701 et. seq.

(b) The Transocean Defendants assert that, under the Outer Continental Shelf
Lands Act, 43 U.S.C. § 1331 et seg., the Court must apply federal law, including the Oil
Pollution Act and/or maritime law, to the exclusion of the law of the adjacent State.

(c) The Transocean Defendants assert that any claims for purely economic
losses, and any declaration or injunction pertaining to such claims, are barred absent
physical injury to a proprietary interest, pursuant to Robins Dry Dock & Repair Co. v.
Flint, 271 U.S. 303, 309 (1927) or similar precedent in Texas, Louisiana, Mississippi,
Alabama, Florida, and/or other states.

(d) The Transocean Defendants assert that, under any State mini-OPA
statutory scheme, liability is limited. The Transocean Defendants are not responsible
parties under State mini-OPA statutory schemes. The Transocean Defendants further

assert the defenses available under any State mini-OPA statutory scheme.

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Causation

12. The BP Parties complain of harm not caused or contributed to in any manner by
the Transocean Defendants, their alleged servants, employees, agents, or anyone for whom the
Transocean Defendants are responsible. The incident and resulting harm that are the subject of
the BP Parties’ Counter-Complaint, Cross-Complaint, Third Party Complaint, and Claim in
Limitation were caused by the fault, negligence, breach of contract, breach of warranty, statutory
and regulatory violations of other persons, entities, or sovereigns for whom the Transocean
Defendants are not legally responsible.

13. The injuries and resulting damages alleged to have been sustained by the BP
Parties were not proximately caused by any acts and/or omissions of the Transocean Defendants.

14. The injuries and resulting damages alleged to have been sustained by the BP
Parties were not foreseeable as a matter of law.

Intervening and Superseding Cause

15. The injuries and resulting damages alleged to have been sustained by The BP
Parties resulted from a superseding or intervening cause for which the Transocean Defendants
are not responsible.

16. On January 29, 2013, U.S. District Judge Sarah S. Vance accepted BP’s plea of
guilty to a violation of 18 U.S.C. § 1505 (Obstruction of Congress). (Ex. A (“BP Plea
Agreement”).) BP’s guilty plea confirmed that BP made misrepresentations to the United States
Government regarding the flow rate from the Macondo well. BP’s admission that it
misrepresented the flow rate constitutes not only criminal conduct, but tortious conduct as well.
As more fully described below, BP fraudulently misrepresented and concealed flow rate and
source control information from those who were working to stop the flow of oil from the

Macondo well. Because BP’s misconduct with respect to flow rate impeded efforts to contain

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and cap the Macondo well, BP’s tortious acts constitute the superseding and intervening cause of
oil flowing from the well for 87 days instead of a much shorter period of time.

17. The Securities and Exchange Commission (“SEC”) also filed a complaint against
BP based on BP’s misrepresentations about the flow rate. (Ex. B (SEC v. BP p.l.c., Civil Action
No. 12-2774 (E.D. La.) (filed Nov. 15, 2012)) (‘SEC Complaint’”).) BP has agreed “to comply
with the Commission’s policy ‘not to permit a defendant or respondent to consent to a judgment
or order that imposes a sanction while denying the allegations in the complaint... .’” (Ex. C
(Civil Action No. 12-2774, Rec. Doc. 2-1 { 13).) BP accordingly agreed “not to take any action
or to make or permit to be made any public statement denying, directly or indirectly, any
allegation in the complaint ....” (/d.) In the same paragraph in which BP agrees not to deny or
make public statements denying the allegations in the SEC Complaint, it is also stated that:
“Nothing in this paragraph affects Defendant’s: (i) testimonial obligations; or (ii) right to take
legal or factual positions in litigation or other legal proceedings in which the Commission is not
a party.” (d.)

18. BP’s criminal acts were also extraordinarily negligent. BP’s negligence here
constitutes an intervening and superseding cause of the alleged harm.

19. Transocean did not, could not, and should not have realized that BP would act
negligently with respect to the source control efforts and its flow rate representations.
Additionally, a reasonable person knowing the situation that existed when BP acted negligently
would consider it highly extraordinary that BP acted in this manner. BP’s negligent source
control effort and flow rate representations were not a normal consequence of a situation created
by any negligence of Transocean. Moreover, the manner in which BP conducted the source

control effort and represented the flow rate rises to the level of extraordinary negligence.

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20. BP’s acts of fraud, misrepresentation, omission, and its crimes in connection with
efforts to estimate the flow rate and control the source of the flow also were a superseding and
intervening cause of the alleged harms.

21. On or before April 22, 2010, Transocean did not realize, could not have realized,
and should not have realized the likelihood that any negligence by Transocean would create a
situation that would afford BP an opportunity to commit intentional torts and crimes.
Transocean also did not realize at the time, nor should it have realized that BP might avail itself
of the opportunity to commit intentional torts and crimes. As described below, BP’s criminal
and fraudulent acts were extraordinary and unforeseeable.

22. Transocean alleges intervening and superseding cause as an affirmative defense.
The burden of proving causation is on the BP Parties. The BP Parties’ causation burden includes
the burden of showing that the conduct of other parties (aside from Transocean) was not an
intervening or superseding cause of the BP Parties’ alleged damages. By setting forth this
affirmative defense, Transocean does not assume the burden of proving any fact, issue, or
element of a cause of action where such burden properly belongs to the BP Parties.

23. Moreover, Transocean below pleads fraud with particularity. By pleading fraud
with particularity, Transocean does not concede that it is Transocean’s burden to allege or prove
fraud.

BP Misrepresented And Concealed Material Flow Rate Information
BP’s April 2010 Misrepresentations

24. In April 2010, Doug Suttles was the Chief Operating Officer of BP’s Exploration

& Production business, BP’s lead representative at Unified Command, and the leader of BP’s

overall response to the Macondo spill. Suttles is referred to as “Former Senior Executive B” in

the SEC Complaint.

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25. In April 2010, Admiral Mary Landry was the United States Government’s Federal
On Scene Coordinator. In that role, Admiral Landry was the lead federal official for response
operations in connection with the Macondo spill. As detailed below, Admiral Landry relied on
BP to, among other things, provide her with its flow rate modeling and its best estimates of the
flow rate.

26. On April 28, 2010, Suttles represented to Admiral Landry in a meeting at Unified
Command that BP’s internal flow rate estimate was between 1,000 and 5,000 barrels of oil per
day (“bopd”), with 2,500 bopd being the most likely flow rate number. (Ex. B (SEC Complaint)

{ 20;

27. The following day — April 29, 2010 — BP’s Suttles appeared on ABC’s “Good
Morning America,” CBS’s “Early Show,” and NBC’s “Today Show.” Suttles stated that BP’s
best estimate of the flow rate was between 1,000-5,000 bopd. (Ex. B (SEC Complaint) { 32.A.
(quoting Suttles as stating on “Good Morning America”: “So I think something between one and
5,000 barrels a day is a reasonable estimate.”); Ryan Owen, Sarah Netter, and Ned Potter, Oil
Leak in Gulf Worse Than Estimated, BP Takes Some Responsibility, abcnews.com (April 29,

2010), http://abcnews.go.com/GMA/Eco/oil-spill-eulf-mexico-severe-estimated-bp-confirms/

story?id=10506409 (last visited Feb. 26, 2013) (“Suttles told ‘Good Morning America’ he still
believes it to be between 1,000 barrels -- the company's original estimate -- and 5,000.”); Ex. B
(SEC Complaint) { 32.B. (quoting Suttles on the “Early Show”: “So, I think that somewhere

between one and five thousand barrels a day is probably the best estimate we have today.”); BP

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Exec: We'll Accept Military Help to Stem Leak, cbsnews.com (April 29, 2010),

http://www.cbsnews.com/8301-500202 162-6443358 html (last visited Feb. 26, 2013); Ex. B

(SEC Complaint) J 32.C. (quoting Suttles on the “Today Show”: “I would say the range is 1,000
to 5,000 barrels a day.”); BP welcomes military help for oil leak, neworleanscitybuisness.com

(April 29, 2010), http://neworleanscitybusiness.com/blog/2010/04/29/bp-welcomes-military-

help-for-larger-gulf-oil-leak/ (last visited Feb. 26, 2013) (quoting Suttles on the “Today Show”

stating “we can now say it looks like it’s more than a thousand. It’s a range” and placing the
upper end of the range at 5,000 bopd).)

28. On April 29 and again on April 30, 2010, BP submitted Form 6-K’s to the
Securities and Exchange Commission that stated the flow rate was “currently estimated at up to
5,000 barrels a day.” (Ex. B (SEC Complaint) 9] 21-22; Ex. D (BP-HZN-2179MDL06640036
(BP Form 6-K for the period ended 30 April 2010).) On April 30, 2010, BP published this same
information on its website. (Ex. B (SEC Complaint) § 23.)

29. BP’s April 28-30, 2010 representations that its range of flow rate estimates was
between 1,000 and 5,000 bopd were false and misleading and omitted material information
within BP’s possession.

30. The SEC Complaint alleges the following regarding the flow rate representations
BP made in the Form 6-K’s and on its website — i.e., the same representations BP made to

Admiral Landry on April 28, 2010 and in the press on April 29, 2010:

® The information was “materially false and misleading” (Ex. B (SEC Complaint)
q 23.)
° “When BP made the statements [to the SEC and on its website], it knew them to

be false or was severely reckless in not knowing them to be false.” (Jd. 4 24.)

e “By April 28, 2010, BP possessed at least four internal pieces of data, estimates,
or calculations and one external calculation that showed potential flow rates
significantly higher than 5,000 bopd.” (/d.)

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® “Given that BP possessed data, estimates, and calculations significantly above the
5,000 bopd figure, to publicly disclose . . . that the flow rate was estimated as ‘up
to 5,000’ bopd was materially false and misleading. Failing to disclose even the
existence of data, estimates, and calculations that showed a higher flow rate also
constituted omissions of material information regarding the flow rate.” (Id. | 26.)

31. In short, the SEC Complaint alleges that when BP represented in late April 2010
that the flow rate was between 1,000-5,000 bopd, BP was making statements that were
materially false and misleading.

32. As detailed in the following paragraphs, when BP represented between April 28-
30, 2010 that the flow rate was 1,000-5,000 bopd, it failed to disclose multiple data, estimates,
and calculations that showed flow rates well above 5,000 bopd.

33. On April 21, 2010, BP employee Walt Bozeman emailed a group of BP
employees, including BP executive David Rainey, that he had “modeled a flow rate at the sea
floor (assuming riser falls) in Prosper [a modeling program]... .” As a result of this modeling
the group calculated a “worst case discharge” (WCD) number of 100,000 barrels of oil per day.

(Exs. 3, 4, 5 (Dep. Exs. 3063, 3372, 5239); see also Ex. 6 (Dep. Ex. 10855 (email from

on same date to BP employees attaching slide showing ie
34. “By April 22, 2010,” as alleged in the SEC complaint, “a BP engineer had

modeled possible oil flow path scenarios within the well, with corresponding rates between

64,000 bopd and 146,000 bopd.” (Ex. B (SEC Complaint) § 24.A.)

35. On April 24, 2010, BP employee J sent to BP employees i
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(BP-HZN-2179MDL04938144).)

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36. “On or before April 24, 2010,” as the SEC has alleged, “BP was aware of an
estimate that showed that immediately following the explosion, oil was flowing through the still-

attached riser at a rate of approximately 100,000 bopd.” (Ex. B (SEC Complaint) 24 B.)

37. On April 26, 2010, BP employee a sent an a

(Ex. 8 (BP-HZN-2179MDL00445569).)

38. On April 26, 2010, notes from a BP teleconference indicate that

(Ex. 9 (Dep. Ex. 5063);

39. In response to this email, on April 28, 2010 BP employee emailed BP

executives among other BP employees, stating:

He sent an attachment called

(Ex. 9 (Dep. Ex. 5063).)

40. On April 27, 2010, BP meeting notes contained an instruction to “[s]end Doug a

summary of flow rate calculations based on well head pressure vs. orifice size.” (Exs. 11, 12

(Dep. Exs. 1626, 2416).) On April 27, BP employees [in

among other BP employees, calculated flow rates based on various orifice sizes.

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They reported

9445).) As alleged in the SEC complaint, “[o]n April 27, 2010, a BP engineer estimated the flow

to be approximately 5,000 to 22,000 bopd on the basis of temperature readings along the riser
pipe, among other factors.” (Ex. B (SEC Complaint) § 24.D.)

41. On April 27, 2010, BP executive a emailed to BP employee ay
a a number of estimated flow rates based on “oil on water” visual estimations. These
estimates included

ME 16 (eps. 3219)) As BP

admitted in the Plea Agreement, BP withheld this information from its May 24, 2010 submission

to the United States House of Representatives Committee on Energy and Commerce. (Ex. A (BP
Plea Agreement) Ex. A { 2.) BP also withheld these estimates from Admiral Landry, the press,
and the public when it represented that the flow rate was between 1,000-5,000 bopd in late April

2010.

Ex. 8942); see infra at J 44; Ex. 18 (BP-HZN-2179MDL05688699-735) at 700-713.)
43. “By April 28, 2010,” according to the SEC Complaint, “Former Senior Executive
A’s spreadsheets showed a flow rate ranging from 1,000 bopd to over 14,000 bopd.” (Ex. B

(SEC Complaint) { 24.E.) “Former Senior Executive A” was BP’s David Rainey.

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44,

EE Ex. 19 (Dep. Ex. 10489),

45. As alleged in the SEC complaint, “[o]n April 30, 2010, an analysis performed by
a BP engineer yielded a range of possible flow rates from 5,000 bopd to 40,000 bopd.” (Ex. B
(SEC Complaint) 4 27.A.)

46. BP’s knowledge of these flow rate estimates, data, calculations, and analysis
made its representations between April 28-April 30, 2010 that the flow rate was between 1,000-
5,000 bopd false and misleading. By neglecting to disclose this flow rate information, BP also
concealed and withheld material information.
BP's May 10 Misrepresentation That 5,000 BOPD Was Its “Most Likely Model” And “Current
Estimate”

47. On May 10, 2010, BP’s Suttles reassured Admiral Landry that 5,000 bopd

remained BP’s best estimate of the flow rate. In a letter

(Ex. 20 (Dep. Ex. 9155).) BP thus represented to Admiral Landry, Admiral

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Allen, and Herbst on May 10, 2010 that 5,000 bopd was BP’s current best estimate of the flow
rate.

48. | When BP represented to Admiral Landry, Admiral Allen, and Herbst on May 10
that 5,000 bopd was BPs i and was i iii BP was
aware of, but failed to disclose, the flow rate information set forth above in paragraphs 19-33 and
that BP had in its possession by the end of April 2010.

49. BP also failed to disclose to Admiral Landry, Admiral Allen, and Herbst
additional material flow rate information that it had obtained between May 1 and May 10, 2010,
including the following.

50. On May 1, 2010, BP employee i sent to BP employees ae

an attachment called

which contained

oil flow rates for nine cases at various reservoir parameters.

Bs (cx. 21 (ep. Ex. 11160); see also Ex. 22 (Dep. Ex. 11135).)
Si. On May 2, 2010, BP employee a and BP employee a
calculated flow rates for different simulations that they entitled i:

These situations represented different flow paths. Flow rates calculated at

SS 2: io x. 23 (Dep. ex
10185).) On May 7, 2010, (EEE emailed updated [iy
z to BP employees in response to a request aa
a  :

24 (Dep. Ex. 11136).)

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52. On May 3, 2010, BP employee sent to BP employee a
cal withthe sue

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BD Ex. 25 (Dep. Ex. 9446),

53. On May 6, 2010, BP executive iT requested worst case discharge plots

from BP employee (via BP employee a). She provided plots with

flow rates at

(Ex. 26 (Dep. Ex.

9157).)

54. At i request, a then ran additional cases

She forwarded those to him with the comment,

(Ex. 27 (Dep. Ex. 9158); see also Ex. 28 (Dep. Ex. 9294)

a (See supra at § 47.)

55. On May 8, 2010, a sent iii a report entitled i
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MEM 2s. 29 (ep. Fx. 9441))
56. On May 9, 2010, BP contractor J emailed BP employee me a

email with the subject line a This email attached a table of blowout rates

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(23s. 30, 31, 32 (Dep. Exs. 9266, 9240, 9159); see also Ex. B

(SEC Complaint) J 27.C.)

57. On May 10, 2010, BP contractor a emailed to BP employees and

ss. 33.34 (02>

Exs. 8866, 10798); see also Ex. B (SEC Complaint)  27.D.)
58. BP’s knowledge of these flow rate estimates, data, calculations, and analysis

obtained by BP on or before May 10, 2010 made its representations on May 10, 2010 that the

of the flow rate and flow rate was 5,000 bopd false

and misleading. By neglecting to disclose this flow rate information to Admiral Landry, Admiral

Allen, and Herbst, BP also concealed and withheld material information.
59. The SEC has alleged that in connection with a May 4, 2010 Form 6-K filing, “BP
omitted . . . the material fact that, by this date, its own engineers and scientists had generated or

received at least six pieces of data, estimates and calculations regarding flow rate estimates that

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far exceeded 5,000 bopd. BP also failed to disclose that, based on the internal data, estimates,
and calculations, it was not accurate to continue to assert that 5,000 bopd was the best estimate
of the amount of oil flowing into the Gulf of Mexico.” (Ex. B (SEC Complaint) 4 31.)

60. Nothing that BP learned between May 4 and May 10, 2010 made Suttles’ May 10
representation to Admiral Landry and her colleagues that 5,000 bopd was the ar
ia any more true than it was on May 4.

BP's Misrepresentations And Failure To Disclose Flow Rate Information To The National Labs

61. On May 13, 2010 at 8:00 am., BP employees met with employees of certain
National Laboratories (“National Labs”) to discuss a BP request for calculations from the
National Labs confirming BP’s calculations of flowing bottom-hole pressures and flow rates.
There is no evidence that BP shared with the National Labs personnel all of the reservoir

modeling and visual flow rate calculations BP had performed up until that date.

62. After the 8:00 a.m. meeting, BP’s a emailed his supervisor, a
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63. That same day, May 13, NPR and CNN reported that a professor from Purdue
University, Steve Wereley, had examined videos of the flow and had estimated a flow rate of

approximately 70,000 bopd.

64. At about 12:00 p.m. on May 13, BP’s a met with National Labs’

employees. According to draft summary from the meeting, es

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(£37 (ep. Ex. 10793).)
65. ee however, BP could provide a scenario

which supported Professor Wereley’s estimate of 72,000 barrels per day if the assumed flow path

was up the inside of the casing rather than up the annular space. ae

(emphasis added),)

66.  BP’s i also recorded in his notes from this meeting that iy

eS

67. There is no evidence that or anyone else from BP advised the National
Labs scientists in these meetings that BP had calculated and estimated flow rates far in excess of
5,000 bopd. In particular, a and BP failed to disclose the flow rate estimates, calculations,

data, and analysis obtained by BP through May 10, 2010.

68. In addition, on May 11, 2010, BP contractor [iy emailed to BP employee

slides regarding iy which illustrated three scenarios of flow rates.

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(Ex, 38 (Dep. Ex. 9267).)

69. On May 11, 2010, BP employee [IE sent to IT

summarizing his group’s flow rate modeling.

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70. On May 13, 2010, ae responded to an inquiry from i i

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(Ex. 40 (Dep. Ex. 9448).)
71. There is no evidence that BP disclosed these additional flow rate facts that BP

learned between May 11, 2010 and May 13, 2010 to the National Labs scientists when [ae

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so what BP iow, BP's

representations were false and misleading. By neglecting to disclose this flow rate information
to the National Labs, BP also concealed and withheld material information.
BP Employees’ Concerns In Mid-May About The 5,000 BOPD Estimate

72, On May 14, 2010, BP’s Doug Suttles again appeared on the morning talk shows
defending the 5,000 bopd estimate. He told “Good Morning America” viewers: “But ourselves
and people from NOAA and others believe that something around 5,000, that’s actually barrels a
day, is the best estimate.” Asked if the well might be leaking more than 5,000 bopd on the
“Today Show,” Suttles responded that he did not believe the actual number was “wildly
different” from 5,000 bopd though “it could be a bit above or below.” ((Ex. B (SEC Complaint)
{ 32.D-E; Jeffrey Kofman, BP Oil Spill Day 25: How Much Is Really Leaking?, abcnews. com (May 14,

2010), http://abenews.go.com/GMA/oil-leak-day-25-oil-spilling-gulf-mexico/story?id=10642498

(last visited Feb. 26, 2013); BP COO: We'll find who’s at fault, today.com (May, 14, 2010),
http://www.today.com/video/today/37147007#37147007 (last visited Feb. 26, 2013).) In his
appearances, Suttles did not disclose the numerous flow rate estimates, calculations, and analysis
in BP’s possession that were substantially higher than 5,000 bopd or that 5,000 bopd was in fact
not BP’s best estimate of the flow rate. Suttles’ comments on May 14, 2010 were false,
misleading, and omitted material information.

73. By mid-May, BP's i had reached a very different conclusion from what

Suttles was representing to Admiral Landry, Herbst, and the press. es

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behind the 5,000 bopd estimate. On May 15, 2010, BP senior engineer Mike Mason,

read an article on CNN.com in which BP continued to assert publicly that the
flow rate estimate was 5,000 bopd, despite Professor Wereley’s estimate that the flow rate was
approximately 70,000 bopd.
75. After reading the article, Mason wrote the following e-mail to Andy Inglis (the

CEO of BP’s Exploration & Production business and a member of BP, P.L.C.’s Board of
Directors) and Inglis’s assistant Jasper Peijs:

I just read an article in CNN (May 14, 2010 1:00pm) stating that a

researcher at Purdue believes that the Macondo well is leaking up

to 70,000 bopd and that BP stands by a 5,000 bopd figure. With

the data and knowledge we currently have available we cannot

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definitively state the oil rate from this well. We should be very
cautious standing behind a 5,000 bopd figure as our modeling
shows that this well could be making anything up to ~100,000
bopd depending on a number of unknown variables, such as: flow
path either through the annulus behind the production casing or
through the production casing float shoe, the height of reservoir
exposed, if drill pipe is suspended in the [blow out preventer] and
sealed by [variable bore] rams, reservoir skin damage, choking
effects and etcetera. We can make the case for 5,000 bopd only
based _on certain assumptions and in the absence of other
information, such as a well test.

(Ex. 41 (Dep. Ex. 3220 (emphasis added); Ex. B (SEC Compl.) { 33.)

76. The SEC has alleged that Mason’s “e-mail failed to spur a discussion regarding
whether BP should update or correct the disclosures in its three Reports on Form 6-K.” Ex. B
(SEC Compl.) J 34.)

77. In fact, rather than Mason’s email spurring discussion about whether to correct
BP’s fraudulent disclosures, BP executives shut down further discussion or investigation, and
never conveyed Mason’s concerns to the United States.

78. After Mason sent his May 15, 2010 email to Inglis and Peijs warning that BP
“should be very cautious standing behind a 5,000 bopd figure as our modeling shows that this

well could be making anything up to ~100,000 bopd,” (Ex. 41 (Dep. Ex. 3220),

(Ex. 36 (Mason Dep.) at 320:1-321:12.)

79.

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80. There is no evidence that Mason’s email, his concern about “standing behind a
5,000 bopd figure” or the assumptions that had to be made to support a 5,000 bopd case, or the
fact that “modeling shows that this well could be making anything up to ~100,000 bopd” were
shared with representatives of the United States Government who were involved in source
control decision-making or in attempts to estimate flow rates.

81. On May 16, 2010, BP’s a asked BP’s a for information
regarding the measured rate of oil being collected through the Riser Insertion Tube Tool
CRIT, I spond:
Ps. 62 (Dep. x.9475))

82. The following day, another BP employee, a. emailed il and a BP

consultant named a seeking information from the RITT effort. aa

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$3. [RNIN responded on My 17:

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MN = £3 (029. 5x. 9475) 03)
84. On May 16, BP contractor a emailed BP’s a and a

noting that his analysis of recent data

x. 44 (ep. Ex. 10655) (emphasis added).)
85. i May 16 email was forwarded to BP’s a. On May 17, ar

emailed a BP colleague, a expressing his concerns in writing about the 5,000 bopd

estimate:

(Ex. 44 (Dep. Ex. 10655).)

86. As explained above, BP’s IM himself did not believe in the 5,000 bopd

estimate and

(id.)

87. On May 17, 2010 at a Unified Command press briefing, Doug Suttles was asked
if he was “certain how much is actually leaking and that it is about that 5,000-barrel figure we
used to hear before.” In his response, Suttles once again defended the 5,000 bopd as “our best
estimate today.” (Ex. B (SEC Complaint) 4 32.F.) Suttles did not disclose the numerous flow
rate estimates, calculations, and analysis in BP’s possession that were substantially higher than
5,000 bopd. He also did not share the concerns that had been expressed by a

about the 5,000 bopd estimate. Suttles likewise did not

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se I Ses! comments on

May 17, 2010 were false, misleading, and omitted material information.
BP’s May 19 Misrepresentation To Admiral Landry
88. On May 19, 2010, in response to a request from the FOSC and NIC, BP executive
Doug Suttles sent Admiral Landry, Admiral Allen, Admiral James Watson, and Admiral Peter
Neffenger a memo purporting to summarize “our most recent work on flow rate estimation.”
The memo stated that using a technique known as “mass balance,” BP’s “Best guess was
between 5,000 and 6,000 barrels per day.” The memo provided “an updated range of possible
flow rates” that suggested BP had a new best guess estimate of 6,000 barrels per day. This
memo was authored by BP executive David Rainey. (Ex. 45 (Dep. Ex. 3218).)
89. The Rainey memo and the attachments to that memo were also included in BP’s
May 24, 2010 response to questions issued by Congressman Edward J. Markey, the Chairman of
the House Committee on Energy and Commerce’s Subcommittee on Energy and Environment
(“Markey Response”). (Ex. 46 (Dep. Ex. 1651) at 14.) In its guilty plea, BP admitted to making
“omissions and false and misleading statements” in the Markey Response, including:
® “BP, through a former vice president, withheld information and documents
relating to multiple flow-rate estimates prepared by BP engineers that showed
flow rates far higher than 5,000 BOPD, including as high as 96,000 BOPD.”
e “BP, through a former vice president, withheld information and documents
relating to internal flow-rate estimates he prepared using the Bonn Agreement

analysis, that showed flow rates far higher than 5,000 BOPD, and that went as
high as 92,000 BOPD.”

(Ex. A (Plea Agreement), Ex. A at 9 1-2.
90. The same facts BP admitted to withholding from Congress when BP sent the
Rainey memo to Chairman Markey were also withheld by BP when it transmitted the Rainey

memo to Admiral Landry and her colleagues on May 19, 2010.

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91. In addition to what BP has admitted to withholding from the Markey Response,
BP withheld numerous additional facts when it sent the Rainey memo to Admiral Landry and her
colleagues with the representation that it was BP’s “most recent work on flow rate estimation,”
including:
a. In the section describing “Maximum Discharge Calculations,” the memo
described supra para. 44.

b. In that same section, the memo omitted reference to the

team’s analysis as described supra paras. 50-51. Instead, it represents only that the “[a]bsolute
worst cases with wellhead and BOP removed, and no downhole restrictions,” are “[a]Jnnular flow
— 55,000 barrels per day” and “[c]asing flow — 100,000 barrels per day.” The memo fails to

report that

The memo failed to attach the modeling and slides performed by the team and described supra at

paras. 50-51, 69.

Cc. The memo omitted reference to a estimations of ai

BR &:2 ong
i as described supra at para. 56.

d. The memo omitted reference to the = and a estimations of flow

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é. The memo omitted reference to the a calculations of a ae

a

described supra at para. 52.

f. The memo omited reference oI

g. The memo omitted reference to me estimate of a flow rate of up to

supra para. 57,

h. The memo omitted reference to a warnings that reliance on

the 5,000 bopd estimate was

as described supra para. 85.

i. The memo omitted reference to Mike Mason’s concern that BP “should be
very cautious standing behind a 5,000 bopd figure as our modeling shows that this well could be
making anything up to ~100,000 bopd depending on a number of unknown variables,” as
described supra para. 80.

BP's Flow Rate Misrepresentations In The Week Leading Up To The Top Kill

92.  BP’s Doug Suttles appeared on “Good Morning America” on May 21, 2010 and
was asked if BP had “deliberately underestimate[d] the size of the spill and mislead the public.”
In his response, Suttles once again represented that the 5,000 bopd estimate was “not just BP’s
estimate” and was “the best estimate we have.” (Ex. B (SEC Complaint) { 32.G; Lee Ferran, BP
Official: EPA Approved ‘Toxic’ Dispersant, abcnew.com (May, 21 2010),

http://abcnews.com/GMA/Media/oil-spill-bp-official-epa-approved-toxic-dispersant/

story?id=10708060 (last visited Feb. 26, 2013).)

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93.  Suttles also labeled the 5,000 bopd estimate “our best estimate” at a Unified
Command press briefing on May 21, 2010. (Ex. B (SEC Complaint) § 32.H.)

94. Appearing on NPR’s “Weekend Edition” on May 22, 2010, Suttles once again
referred to 5,000 bopd as a “best estimate.” The interviewer asked Suttles: “let’s say that it’s
30,000 barrels a day that are spilling.” In his response, Suttles stated: “we don’t think the rate’s
anywhere near that high.” (Ex. B (SEC Complaint) | 32.Q; BP Head Disputes Oil Estimates,

npr.com (May 22,2010), http://www.npr.org/templates/story/story.php?storyld=127054190 (last

visited Feb. 26, 2013).)
95. The representations that BP made through Doug Suttles on May 21 and May 22
were false and incomplete. Once again, BP chose not to share numerous flow rate estimates,

calculations, and analysis in BP’s possession that were substantially higher than 5,000 bopd. BP

also did not disclose the concerns that had been expressed by ee
ee about the 5,000 bopd estimate.

96. On May 24, 2010, BP provided its Markey Response to Congress. In response to
Chairman Markey’s request for the “current amount of oil flowing from the well,” BP’s letter
represented that based on calculations performed by Unified Command, “[t]he resulting
calculation ranges from about 1,000 barrels per day to roughly 15,000 barrels per day, with the
most scientifically-informed judgment suggesting a best guess of roughly 5,000 barrels per day.”
(Dep. Ex. 1651.) The response also stated that “[s]ubsequent estimates of flow rate have been
carried out within Unified Command and have yielded consistent results.” (Ex. 46 (Dep. Ex.
1651).) The letter failed to disclose numerous flow rate estimates, calculations, and analysis that
yielded results that were inconsistent with and much higher than the 5,000 bopd estimate. BP
has pled guilty to misleading Congress in its Markey Response.

97. The SEC Complaint alleges that:

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® From “April 30, 2010, until May 24, 2010, BP generated or was aware of eleven
additional pieces of data, estimates, and calculations showing a range of flow
rates significantly higher than 5,000 bopd.” (Ex. B (SEC Complaint) J 27.)

® “These eleven additional pieces of data, estimates, and calculations strongly
indicated that the range of flow rate was in excess of 5,000 bopd. None of the
additional pieces of data, estimates, and calculations suggested that 5,000 bopd
was the current estimate of flow rate or that a flow rate of 5,000 bopd was the best
estimate.” (Ud. 7 28.)

® Suttles, who repeatedly represented that the best flow rate estimate was 5,000
bopd, “received at least four of the eleven pieces of data, estimates, and
calculations.” (Id. § 29.)

e The author of the Rainey memo had “received at least six of the eleven additional
pieces of data, estimates, and calculations.” (/d. 31.)

98. When BP understated the flow rate, it did so with an intent to defraud. As shown
by the BP plea agreement, the SEC allegations, and the exhibits and testimony cited above, BP
knew full well that the flow rate representations it made in April and May 2010 were fraudulent,
false, and misleading. As explained below, BP also knew that its misrepresentations involved
information that was material, indeed critical, to source control decision-making. Likewise, BP
understood that the flow rate information it failed to disclose would create an erroneous
impression that was material to decision-makers.

99. BP had an obvious motive to minimize the flow rate. As alleged in the SEC
Complaint, “Information regarding the rate of oil flowing from the well was material to BP’s
investors. The amount of oil spilled would inform any consideration of the costs of offshore and
onshore spill response, claims for natural resource damage under the Oil Pollution Act of 1990
[33 U.S.C. § 2701 et seq.], penalties for strict liability under the Clean Water Act [33 U.S.C. §
1251 et seq.], as well as other potential liability arising from claims, lawsuits, and enforcement
actions related to the explosion and the sinking of the Deepwater Horizon.” (Ex. B (SEC

Complaint) § 6.)

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100. In short, beginning in late April and continuing throughout May 2010, BP
repeatedly represented to source control decision-makers, Congress, the press, and the public that
5,000 bopd was its best estimate of the flow rate. It withheld numerous documents, analysis, and
estimates that would have allowed those outside BP to realize that BP’s flow rate claims were
misleading and fraudulent. BP’s attempt to minimize the scope of the spill has now backfired on
BP in the form of a criminal guilty plea and uncontested findings that BP violated federal
securities laws. But the fallout from BP’s flow rate misrepresentations did not begin, nor end,
there. As we explain below, BP’s flow rate misrepresentations directly impeded efforts to stop
the flow of oil from the well and are therefore a key part of this case.

BP’s Misrepresentations And Omissions Were Relied Upon And Impeded Efforts To Control The
Well

101. The flow rate misrepresentations BP made to, and the flow rate information BP
withheld from, source control decision-makers was material to efforts to cap and contain the
flow of oil from the Macondo well. These decision-makers actually, reasonably, and justifiably
relied on BP’s repeated representations that the most likely or best estimate of the flow rate was
only 5,000 bopd and on their belief that BP was not withholding material information about the
flow rate. The success or failure of multiple source control efforts depended on the flow rate of
oil from the Macondo well. Knowing that the top kill effort that ultimately failed at the end of
May 2010 could not succeed if the flow rate was above 15,000 bopd, BP nevertheless
recommended to the Government in mid-May that the top kill should be prioritized above
another strategy that could have succeeded in capping the well. Because BP had misled
Government decision-makers about the flow rate, they did not object to BP’s flawed source
control strategy. Had the alternative source control approach — known as the BOP-on-BOP —

been attempted instead of the doomed top kill effort, the well could have been capped in mid-

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May, rather than in mid-July. In short, BP’s tortious and criminal conduct caused the oil spill to
last for two months longer than necessary.
102. BP’s misrepresentations and omissions regarding the flow rate involved

misleading decision-makers about material facts.

understanding the flow rate was important to evaluating numerous source control efforts

including the Cofferdam, the top kill, and efforts to collect oil flowing from the well. ae

103. Among the harms caused by BP’s flow rate misrepresentations and omissions was
the prioritization of the top kill and junk shot option — which failed in late May 2010 — over the
BOP-on-BOP option — which could have succeeded in closing in the well in May 2010.

104. In early May 2010, two competing source control strategies were emerging as
front-runners to become the focus of source control efforts in the middle and latter part of May:

(1) a BOP-on-BOP option, and (2) a top kill and junk shot option.

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105. The first option involved placing the BOP already onboard the Discoverer
Enterprise vessel on top of the Deepwater Horizon BOP. Similar to the capping stack that
eventually succeeded in shutting in the well in mid-July 2010, this BOP-on-BOP solution would
stop the flow by closing rams in the Enterprise BOP stack.

106. The testimony of BP’s corporate representative as well as contemporaneous

documents establish that the BOP-on-BOP solution was ee in
carly May 200 |

107. The second option of a top kill and, potentially, a junk shot would involve
pumping mud and bridging materials through the Deepwater Horizon’s choke and kill lines at a
rate high enough to stop the flow of oil from the well.

108. On or about May 9, 2010,

the Discover Enterprise vessel was repurposed from the

BOP-on-BOP project to efforts to contain the flow of oil. ee

110. When the Discover Enterprise was taken off of the BOP-on-BOP project based on
BP’s recommendation to prioritize the top kill, the Enterprise’s BOP was nearly ready to be
deployed on top of the Deepwater Horizon’s BOP. (Ex. 54 (Transcript of Deposition of Robert
Turlak, Nov. 6-7, 2012 (“Turlak Dep.”)) at 360:23-361:8, 367:4-367:15; Ex. 55 (Transcript of

Deposition of Geoff Boughton, Jul. 20-21, 2011) at 79:1-13.) BP employee a. the

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leader of the BOP-on-BOP effort, wrote in a May 12, 2010 email: ee
a (Ex. 56 (Dep. Ex. 10530).) As iii explained more fully in a post-event

email:

(Ex. 57 (Dep. Ex. 08542); see also (Ex. 58 (Dep. Ex. 5385) (timeline for installation of
Enterprise BOP showing well being secured on May 11, 2010).)
111. The BOP-on-BOP was a more feasible and more effective alternative than the top

kill strategy.

(Ex. 61 (ANA-MDL-000230538).)

Moreover, like the capping stack that eventually succeeded in shutting in the well in mid-July,
the BOP-on-BOP option could be designed to vent hydrocarbons to the sea as the rams were
being closed thereby mitigating any concerns related to the well’s integrity. (Ex. 62 (Dep. Ex.
10528); Ex. 54 (Turlak Dep.) at 532:22-533:7.)

112. The BOP-on-BOP strategy also had the advantage of improving the likelihood of
a successful top kill effort, if decision-makers decided not to close in the well right away. As

scholars from Louisiana State University’s Department of Petroleum Engineering explained,

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“Before attempting the top kill, responders should have considered installing equipment, like the
capping stack, that could be used to contain enough pressure to shut-in the well.” (Ex. 63 (Dep.

Ex. 10543) at 23.) This advantage of the BOP-on-BOP option was

113. BP represented to high-level Government officials that they were confident the

top kill would succeed.

Similarly, just days before the top kill was implemented,

11317).) And on or about May 24, 2010, BP’s CEO Tony Hayward publicly stated that the top

kill had a 60-70% chance of success. (See Ex. 67 (Dep. Ex. 10532); see also “BP CEO Rates
Leak Plug Success Chance About 70 Percent,” Bloomberg News (May 24, 2010), available at
http://www.bloomberg.com/news/2010-05 -24/bp-gives-top-kill-method-of-containing-spill-up-
to-70-chance-of-success.html.)

114. BP knew, however, that the top kill’s chances of success were poor or
nonexistent. On or about May 6, 2010, a BP presentation summarizing a review of the junk shot
strategy — the component of the top kill that involved pumping bridging materials into the BOP —

noted that

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115. Although BP had prioritized the top kill over the BOP-on-BOP effort, internally
BP employees doubted the wisdom of this decision and believed that the Development Driller
I?s (“DDI”) BOP should be deployed on top of the Horizon BOP before a top kill was

attempted.

(Ex. 53 (Dep. Ex. 4405).) An internal top kill evaluation at BP

authored on or about May 14, 2010 stated

(Ex. 70 (Dep. Ex. 10507) at 7.) There is no
evidence that this document or the view that the BOP-on-BOP should be reprioritized above the
top kill was shared with Government decision-makers.

116. The top kill had a fatal flaw that was directly connected to BP’s
misrepresentations about the flow rate. As BP knew, the dynamic kill could not succeed if the
flow rate was above 15,000 bopd. Because BP had numerous estimates, calculations, and
analysis prior to the top kill that indicated flow rates well above 15,000 bopd, BP knew full well
that the top kill had a low likelihood of success. Unfortunately, because BP withheld critical
information from the Government decision-makers providing oversight of BP’s source control
decisions, BP was able to proceed with its doomed top kill strategy nonetheless.

117. In order to appreciate the top kill’s poor chances of success, source control
decision-makers needed two key pieces of information in BP’s possession: (1) knowledge that

the top kill would fail if the flow rate was 15,000 bopd; and (2) an understanding that BP’s own

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modeling, analysis, and visual estimates did not support 5,000 bopd as the most likely estimate
and that the actual flow rate could significantly exceed the 15,000 bopd limit.

118. On May 16, BP contractor emailed BP’s

noting that his analysis of recent data

(Ex. 44 (Dep. Ex. 10655).)

119. On May 16, 2010, BP contractor a sent another email to BP’s

(Ex. 71 Dep. Ex. 8537)

at 205:14-206:2.) Thus, by
May 16, BP understood the importance of flow rate estimates to the likelihood of the dynamic
kill’s success. In particular, it knew that if the flow rate was 15,000 bopd or higher, the dynamic
kill could not succeed.

120. On May 18, 2010, a BP contractor named authored a memorandum
summarizing a “Kill the Well on Paper Discussion” that BP employees had attended where [iil
m7 had made a presentation about his top kill modeling. a memorandum included in its

“Summary Points” a bullet point that stated:

(Ex. 73 (Dep.

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122. BP affirmatively misrepresented to at least one high-ranking Government official

that the top kill did not depend on the flow rate.

123. Before BP proceeded with the top kill, it had to obtain the signatures of two high-
level government officials: the Federal On Scene Coordinator Admiral Mary Landry and the

MMS Gulf of Mexico Director Lars Herbst. (Ex. 74 (Dep. Ex. 9353).)

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124. BP failed to inform Admiral Landry or Herbst of either of the two facts that they
needed to know in order to understand the top kill’s low likelihood of success — i.e., the top kill
upper limit and BP’s internal flow rate estimates.

125. First, BP did not inform Admiral Landry or Herbst of the 15,000 bopd limit on the

dynamic kill.

126. Second, BP affirmatively misled Landry and Herbst about the strength of the
5,000 bopd estimate and withheld from them critical information about BP’s own internal
analysis, estimation, and modeling of the flow rate.

127. Admiral Landry justifiably and reasonably relied on BP’s misrepresentations and
omissions regarding the flow rate. Beginning in late April 2010, BP’s Doug Suttles repeatedly

represented to Landry that the flow rate was 5,000 bopd or less.

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128. Herbst also justifiably and reasonably relied on BP’s flow rate misrepresentations.

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129.

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130. BP witnesses have also acknowledged the importance of accurate flow rate

information to decision-making about the top kill. ee

131. BP’s misrepresentations and omissions, along with its policy of not sharing flow

rate information internally or externally, also misled employees within BP. By mid-May, an

Pe BP’s Mike Mason was advising top BP officials that BP

“should be very cautious standing behind a 5,000 bopd figure as our modeling shows that this
well could be making anything up to ~100,000 bopd,” and BP had generated and received
numerous internal models, analysis, and estimates that showed flow rates well in excess of §,000

bopd and the 15,000 bopd dynamic kill limit.

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132.

133. At a May 21, 2010 Unified Command press briefing, BP’s Doug Suttles was
asked how BP could know the needed pressure, mud rate, and mud volume for the top kill if BP
was unaware of the flow rate. In his response, Suttles stated: “And we’ve said since quite early
on in this that our best estimate was around 5,000 barrels a day with a wide range. And actually
as we do design for top kill, that same assessment is what we’re designing that (job?) off of... .
So at the moment, that’s our best estimate.” (Ex. B (SEC Complaint) § 6.)

134. BP’s decision to pursue the top kill not only delayed efforts to cap the well, but

also increased the flow rate by eroding obstructions in the well.

135. BP’s pursuit of the top kill needlessly put the lives, health, and safety of

136. On May 28, 2010, the top kill effort ended without success. Weeks had been
wasted preparing for a source control technique that BP knew was doomed to fail while tens of
thousands of barrels of oil continued to flow into the Gulf of Mexico.

BP's Misrepresentations And Omissions Regarding The Reason For The Top Kill’s Failure

137. On May 27, 2010, BP’s sent an email that stated in part:

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a . 77 (Dep. Ex. 9164),)

139. Ina May 27 response, i stated: ee

(Ex. 77 (Dep. Ex. 9164).)

140. On the night of May 27, BP’s a emailed a and BP’s

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(Ex. 77 (Dep. Ex. 9164).)

141.

142. On May 29, 2010, BP made a presentation to the United States Government about
why the top kill failed. BP represented to the Government that the only plausible explanation for
the top kill’s failure was that the top kill mud and hydrocarbons from the well had exited through
burst rupture disks into the surrounding rock formation. The rupture disks were 1/8 inch disks
that BP had included in the 16” casing and that were designed to burst outward or inward during
the production phase of the Macondo project if pressures became too high. BP represented that
the only plausible explanation for the top kill’s failure was that these rupture disks had indeed

burst and that top kill mud and hydrocarbons from the well had flowed into the casing annulus

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and out the rupture disk orifices.

143. BP’s representation that flow through the rupture disks was the only plausible
explanation for the top kill’s failure was material to source control decision-making because,

based on that representation, BP told the United States that

144. BP’s recommendation earlier in May to prioritize the top kill over the BOP-on-
BOP had delayed installation of the BOP-on-BOP. BP’s post-top kill representation that the
BOP-on-BOP presented a risk of broaching caused source control decision-makers to altogether

abandon the BOP-on-BOP option.

145. BP’s representation that flow through the rupture disks was the only plausible
explanation for the top kill’s failure was false, misleading, and incomplete because one plausible

explanation for the failure of the top kill was that the flow rate of hydrocarbons was too high.

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146. BP knew that excessive flow rate was a plausible explanation for the top kill’s
failure because, as explained above, BP was well aware going into the top kill that the dynamic
kill could not succeed if flow rates were above 15,000 barrels of oil per day and flow rates likely
were above 15,000 barrels per day.

147. BP also knew excessive flow rate was a plausible explanation because on the

second day of the top kill effort, BP employee mz concluded that the top kill was not

succeeding because ther ws I:
90 (Dep. Ex. 9160).) im shared this message with fellow BP employee ii on
May 27, 2010. (Id.)

148. BP, however, failed to share a conclusion or his message with the

Government. Rather, BP led the Government to believe that conclusion was implausible.

149. i conclusion was material information that BP should have transmitted to
Government decision-makers because it would have increased the plausibility of the excessive
flow rate explanation for the top kill, reduced the plausibility of the rupture disks explanation,
and increased the likelihood that the BOP-on-BOP effort could be pursued instead of abandoned.

150. BP’s representation that flow through the rupture disks was the only plausible
explanation for the top kill’s failure was also false, misleading, and incomplete because BP was

aware that its source control contractor, a had concluded that the top kill did

not fail due to the rupture disks.

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151.

152. a communicated its analysis of why the top kill had failed — i.e.,

not because of the rupture disks — repeatedly to BP.

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154.

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155.  BP’s a shared belief that the data BP was using to

support BP’s rupture disk theory could be misleading and that it should not form the basis for
eliminating capping options like the BOP-on-BOP strategy. In a May 29, 2010 email, aE

wrote:

(Ex. 91 (Dep. Ex. 10623).)

156. On May 31, 2010, provided a lengthy memo to BP’s
and i with the subject line:

157. There is no evidence that BP shared memo or its consensus

view of why the top kill failed with the Government’s decision-makers.

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158. BP’s failure to share a view with the Government was
fraudulent, misleading, and an omission of a material fact. Knowledge of a

conclusion would have undermined BP’s flawed analysis of the reason for the top kill’s failure,
would have made the excessive-flow-rate explanation more plausible, and would have
significantly reduced the risks of capping the well with the BOP-on-BOP.

159. BPs representation that flow through the rupture disks was the only plausible
explanation for the top kill’s failure was also false, misleading, and incomplete because on May
29, 2010, i (a BP contractor) concluded that the pressure data from the top kill

indicated that during the top kill, transmitted

this conclusion in a May 29, 2010 email to BP’s ME. (Ex. 93 (Dep. Ex. 9265).)

160. a analysis was material to the top-kill failure explanation because iii

Thus, knowledge
of mn conclusion would have made BP’s chosen explanation for the top kill’s failure
implausible, would have made the excessive-flow-rate explanation more plausible, and would
have significantly reduced the risks of capping the well with the BOP on BOP. a
conclusion therefore was material information regarding the reason for the top kill’s failure and
whether the BOP-on-BOP effort should have been pursued instead of abandoned.

161. BP failed to disclose | conclusion to Government decision-makers. a

162. BP’s representation that flow through the rupture disks was the only plausible
explanation for the top kill’s failure was also false, misleading, and incomplete because by May

31, 2010, Morten Emilsen (a BP contractor) had concluded that simulations, evidence, and

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evaluations indicated that the hydrocarbon flow path was up inside the inner-most casing and not
the annulus. (Ex. 94 (Dep. Ex. 7270).)

163. Emilsen’s conclusion was material to the top-kill failure analysis. If the flow path
was up inside the inner-most casing and not the annulus, the top kill mud and hydrocarbons
could not have escaped through the burst disks in the outer 16” casing. Thus, knowledge of
Emilsen’s conclusion would have undermined BP’s explanation for the top kill’s failure, would
have made the excessive-flow-rate explanation more plausible, and would have significantly
reduced the risks of capping the well with the BOP-on-BOP. Emilsen’s conclusion therefore
was material information regarding the reason for the top kill’s failure and whether the BOP-on-
BOP effort should have been pursued instead of abandoned.

164. BP failed to disclose Emilsen’s report to Government decision-makers in late

165. When BP made misrepresentations and withheld information about the reason for

the top kill’s failure, it did so with an intent to defraud. As shown \) ii and

statements and the analysis BP received fon (iii and Morton

Emilsen, BP was fully aware that its misrepresentation that the burst disks were the only
plausible explanation for the top kill’s failure was fraudulent, false, and misleading. Likewise,
BP knew that the information it withheld from source control decision-makers would create the
false impression that the burst disks really were the only plausible explanation, when in fact they
were not. Because BP itself recommended not capping the well due to its burst disks explanation
for the top kill’s failure, BP was also aware that its misrepresentation and its withholding of

information involved material information.

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166. Moreover, BP had motives for withholding the excessive flow rate explanation
from source control decision-makers and leading them to believe instead that the top kill had
failed because of the burst disks. Just as with BP’s earlier misrepresentations and omissions
about the flow rate, BP had cause to be concerned that disclosing that the top kill had failed
because the flow rates were too high had the potential to increase BP’s liability for damages that
were tied to the number of barrels of oil spilled. Worse yet, by disclosing that the top kill failed
because the flow rate was too high, BP would potentially alert Government decision-makers that
BP had misrepresented the flow rate in the lead up to the top kill and had failed to inform
decision-makers like Admiral Landry and the MMS’s Lars Herbst about the top kill’s 15,000
bopd limit.

167. Source control decision-makers detrimentally relied on BP’s misrepresentations
that the rupture disks were the only plausible explanation for the top kill’s failure and on BP’s
failure to disclose material information in its possession related to the reason why the top kill had
been unsuccessful. Because of those misrepresentations and omissions, source control decision-

makers abandoned the BOP-on-BOP strategy and delayed efforts to cap the well. a:

168. Because BP’s misrepresentations and omissions caused decision-makers to
abandon the BOP-on-BOP solution and delayed the capping stack effort, they also caused the

well to flow for significantly longer than it should have.

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169. The capping stack, which in essence is a BOP-on-BOP, did not shut in the well
and stop the flow of oil into the Gulf of Mexico until July 15, 2010. By that time, oil had flowed
into the Gulf for 87 days.

170. In short, BP’s fraud was the proximate, intervening, and superseding cause of the
well continuing to flow until mid-July 2010. BP’s misrepresentations and concealment of
material information about the flow rate caused source control decision-makers to approve
proceeding with the top kill over the BOP-on-BOP strategy in mid-May 2010. Because of that, a
well that could have been capped in early May 2010 emitted tens of thousands of barrels per day
for another two months causing significant environmental pollution.

171. In the event BP’s breach of the DWH contract constitutes a core breach that, as a
matter of law nullifies BP’s defenses and limitations to damages under the contract, the
Transocean Defendants seek recovery of their direct damages including but not limited to loss of
profits and loss of the vessel and its equipment and reimbursement of settlements paid to or on
behalf of its employees.

Damages

172. The Transocean Defendants specifically deny that the BP Parties have sustained
legally compensable damages.

173. The injuries and resulting damages alleged to have been sustained by the BP
Parties were not foreseeable as a matter of law.

174. The BP Parties may not recover on the claims pleaded in the Counter-Complaint,
Cross-Complaint, Third Party Complaint, or Claim in Limitation because the damages sought are
too speculative and remote.

175. The BP Parties have not reasonably mitigated their damages.

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176. The BP Parties have not reasonably mitigated their damages by paying claims
which are not properly documented, and/or are not compensable under OPA or any other laws.

177. The Transocean Defendants are entitled to set off, should any damages be
awarded against them, in the amount recovered by the BP Parties with respect to the same
alleged injuries. The Transocean Defendants assert payment and release to the extent that any of
the BP Parties’ alleged damages have been or will be fully redressed under the Oil Pollution Act
or other applicable statute or rule. The Transocean Defendants are also entitled to have any
damages that may be awarded to the BP Parties reduced by the value of any benefit or payment
to the BP Parties from any collateral source.

178. Punitive damages are not recoverable against the Transocean Defendants as a
matter of law.

179. The Transocean Defendants deny that any of them have engaged in conduct that
would support an award of punitive damages.

180. Any award of punitive damages against the Transocean Defendants would be in
violation of the Constitutional safeguards provided to the Transocean Defendants under the
Constitution of the United States, and under state constitutions or statutory re gimes, if applicable.
The imposition of punitive damages would violate Transocean Defendants’ rights to (1)
protection against excessive fines under the Eighth Amendment to the Constitution of the United
States (and state constitutions or statutory regimes, if applicable) and (2) due process and equal
protection of the law under the Fifth and Fourteenth Amendments of the United States
Constitution (and state constitutions or statutory regimes, if applicable) in that: (a) the issue of
punitive damages would be submitted to a jury without any adequate standards for
determination, (b) the jury would be required to decide issues of law rather than issues of fact,

(c) there is no adequate review of a jury determination of punitive damages, (d) punitive

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damages can be imposed jointly without regard to the responsibility of the individual defendants,
(ec) penalties can be imposed without the increased burden of proof and other protections required
by criminal laws, (f) evidence is submitted to the jury on issues of liability that should be limited
to the issues of punitive damages only, and (g) the amount of punitive damages are determined in
part by the financial status of the defendant.
Reservation of Rights to Compel Arbitration

181. The Transocean Defendants reserve their rights to compel arbitration of the BP
Parties’ claims because Article 35.4 of the Drilling Contract between the Transocean Defendants
and the BP Parties requires that all such claims be arbitrated. The Transocean Defendants further
reserve their rights to file a Motion to Stay the BP Parties’ claims, pending conclusion of
arbitration.

Contribution Comparative Fault and Indemnity

182. In addition to the Limitation of Liability to which the Transocean Defendants are
entitled herein, the Transocean Defendants are also entitled to contribution, indemnification
and/or reimbursement or a determination of comparative fault of/from Third-Parties for any
damages the Transocean Defendants may be required to pay that are attributable to the
comparative negligence, fault and/or legal responsibility of Third-Parties.

No Duty or Breach of Duty

183. The Transocean Defendants did not owe any duty or warranty to the BP Parties
and did not breach any duty or warranty.

184. At all material times, the Transocean Defendants acted with due diligence and
reasonable care and did not breach any duty to the BP Parties.

Preemption

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185. The claims are barred in whole or in part by the Supremacy Clause of the United
States Constitution, art. VI, § 2, because the claims are preempted and/or precluded by federal
law, including, but not limited to, the Outer Continental Shelf Lands Act, 43 U.S.C. §§ 1331, ef
seq., the Oil Pollution Act of 1990, 33 U.S.C. §§ 2701, et seg., the Clean Water Act, 33 U.S.C.
§§ 1251, et seg., Bureau of Ocean Energy Management, Regulation and Enforcement, formerly
Minerals Management Service (“BOEMRE”) policies and regulations regarding offshore oil
exploration and drilling, and federal maritime common law.

Adoption of Affirmative Defenses and Reservation of Right to Amend Answer

186. The Transocean Defendants assert any other defenses to which they may be
entitled under Rule 8(c), Federal Rules of Civil Procedure.

187. Any affirmative defenses pleaded by the other defendants and not pleaded by the
Transocean Defendants are incorporated herein to the extent such defenses do not conflict with
the Transocean Defendants’ affirmative defenses.

188. The Transocean Defendants reserve the right to amend their Answer, Rule 12(b)
defenses and other defenses, and to assert cross-claims and third-party claims, as appropriate.

WHEREFORE, the Transocean Defendants pray that their defenses be deemed good and
sufficient; that after due proceedings are had there be judgment in favor of the Transocean
Defendants, dismissing all claims asserted against them by the BP Parties, with prejudice, at the
BP Parties’ costs; in the event BP’s breach of the DWH contract constitutes a core breach that, as
a matter of law nullifies BP’s defenses and limitations to damages under the contract, the
Transocean Defendants seek recovery of their direct damages including but not limited to loss of
profits and loss of the vessel and its equipment and reimbursement of settlements paid to or on

behalf of its employees; and for any and all other just and equitable relief deemed appropriate.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 1st day of March, 2013, I electronically
transmitted a PDF version of this document to the Clerk of Court, using the CM/ECF System, for

filing and for transmittal of a Notice of Electronic Filing to all CM/ECF registrants.

/s/ Kerry J. Miller

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